87 F.3d 1322
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Charlie SHEPHARD, Plaintiff-Appellant,v.PROVIDENT LIFE &amp; ACCIDENT INSURANCE CO., Defendant-Appellee.
    No. 95-56664.
    United States Court of Appeals, Ninth Circuit.
    Submitted June 11, 1996.*Decided June 19, 1996.
    
      Before:  CANBY, NOONAN, and LEAVY, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Charlie Shephard appeals pro se the district court's summary judgment in favor of Provident Life &amp; Accident Insurance Company in Shephard's diversity action alleging breach of contract, breach of the implied covenant of good faith and fair dealing, and fraud arising out of Provident's delay in paying two dental claims.   We have jurisdiction pursuant to 28 U.S.C. § 1291.   We review de novo, Barnett v. Centoni, 31 F.3d 813, 815 (9th Cir.1995), and we affirm for the reasons stated by the district court.
    
    
      3
      AFFIRM.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.   Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    